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11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                           SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                    )   Case No. 18-CR-00258 EJD
                                                  )
15           Plaintiff,                           )   UNITED STATES’ MEMORANDUM OF LAW
                                                  )   REGARDING POTENTIAL EXHIBITS FOR
16      v.                                        )   ERIKA CHEUNG
                                                  )
17   ELIZABETH HOLMES,                            )
                                                  )   Date: September 15, 2021
18           Defendant.                           )   Time: 8:30 a.m.
                                                  )   Court: Hon. Edward J. Davila
19                                                )

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 1          Despite receiving notice on September 7, 2021, of the exhibits the government intended to use

 2 with witness Erika Cheung in its case-in-chief, defense counsel waited almost a week to inform the

 3 government it would not stipulate to any of the proposed exhibits for Ms. Cheung and then handed the

 4 Court a five-page brief detailing its reasoning after Ms. Cheung took the stand. 1 Volkar Decl., Exh. 1.

 5 The government has expressed its concerns with the disruption to the trial caused by this approach. 2

 6 The government is aware of the Federal Rules of Evidence, as well as the Court’s prior orders (e.g., ECF

 7 No. 798 (“MIL Order”)), and has selected appropriate exhibits and witnesses to satisfy its burden of

 8 proof in its case-in-chief. While Defendant’s main objection to these potential exhibits is that they

 9 constitute hearsay, 3 the documents are admissible as business records, co-conspirator statements,

10 admissions, or for a non-hearsay purpose. Furthermore, while Defendant asserts that every document,

11 viewed alone, must be directly connected to her on its face in order to be admissible, that is not what the

12 Rules require. The direct versus circumstantial connection of the evidence to Defendant goes, at most,

13 to the weight of the evidence, not the admissibility of any individual document. Additionally, because

14 Erika Cheung (and other lab associates) reported to Defendant and Defendant’s co-conspirator, Ramesh

15 “Sunny” Balwani through other high-ranking Theranos officials in the company—including Theranos’s

16 laboratory director—the government can show a sufficient agency-like link to satisfy the Court’s MIL

17 Order (at 94–97), rendering statements by those employees adopted admissions by Theranos employees,

18 particularly given that testimony at trial will show that Defendant was an incredibly hands-on, detail-
19 driven CEO at Theranos.

20          First, the majority of the documents the government seeks to admit as exhibits during Erika

21 Cheung’s testimony are business records under Federal Rule of Evidence 803(6). Ms. Cheung testified

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     All exhibits referenced herein are attached to the accompanying Declaration of Kelly I. Volkar in
24 support of the Government’s Brief Regarding Potential Exhibits for Erika Cheung (“Volkar Decl.”).
   2
     Defendant’s approach is also inconsistent with the Court’s comments regarding the typical trial
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   process—during which the Court noted that objections tend to occur in the presence of the jury
26 (09/08/2021 Hearing Transcript (“9/8 Tr.”) at 497:24–498:7). Rather than adhere to that guidance,
   Defendant seeks to exclude virtually all exhibits the government has proposed to use with Erika Cheung
27 outside the presence of the jury.
     3
28    To the extent Defendant intends to re-assert any additional evidentiary challenges that she raised in her
     1000 Motion, the government reasserts its counterpoints in its Opposition. See ECF No. 1004 at 4–7.
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 1 that email was regularly used by employees to conduct work at Theranos, it was her regular practice to

 2 send emails at or near the time of the events described, that she had knowledge of the underlying events,

 3 that it was important for her and other employees to accurately convey information because other

 4 individuals in the company would rely on that information, that the information was memorialized in

 5 email in part so that employees could refer back to the information later, and that Theranos would create

 6 specific email groups to respond to challenges, including the “Normandy 911” email group to respond to

 7 issues in the Normandy lab 4 at Theranos. 09/14/2021 Hearing Transcript (“9/14 Tr.”) at 836:5–839:13.

 8 The government submits that a similar foundation will be laid for the remaining exhibits it seeks to

 9 introduce during Ms. Cheung’s testimony and thus they will be admissible in their entirety as business

10 records of Theranos. See Fed. R. Evid. 803(6).

11          The Ninth Circuit recently endorsed admitting emails as business records where they meet the

12 factors of Rule 803(6), as the documents at issue here do. See United States v. Lischewski, --- F. App’x -

13 --, No. 20-10211, 2021 WL 2826474, at *3 (9th Cir. July 7, 2021) (“The district court did not abuse its

14 discretion in admitting [appellant’s] email as a business record under Federal Rule of Evidence

15 803(6).”). Email has become the standard form of business communication in the modern age. Emails

16 may qualify as business records under Rule 803(6) when (1) they are kept in the course of a regularly

17 conducted business activity and made as a regular practice, (2) they are written at or near the time of the

18 event, and (3) the opponent fails to show they are untrustworthy. Fed. R. Evid. 803(6); see Wright &
19 Miller, 30B Fed. Prac. & Proc. § 6864 (2021 ed.) (“An email can qualify for admission under Rule

20 803(6) . . . [and the requisite] showing will often be possible.”).

21          Although the Ninth Circuit expressed skepticism a quarter century ago about whether emails sent

22 in the course of performing business duties were categorically a business activity, it did not hold that an

23 email could never be a business record. See Monotype Corp. PLC v. Int’l Typeface Corp., 43 F.3d 443,

24 450 (9th Cir. 1994) (finding that the emails in question containing “highly derogatory and offensive

25 description” of an employee were properly excluded under Rule 403 and were less of a business activity

26 than a monthly inventory printout). Since Monotype, district courts across the Ninth Circuit have

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     4
28    The part of the lab where Theranos kept its proprietary devices, such as the Edison, was called
     “Normandy.”
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 1 recognized the change in business practice in recent decades, including the common and frequent use of

 2 emails in the daily course of business, and have held that emails are admissible under Rule 803(6) so

 3 long as the parties lay a proper foundation. See, e.g., Ionian Corp. v. Country Mut. Ins. Co.,

 4 836 F. Supp. 2d 1173, 1193 (D. Or. 2011) (admitting an email as a business record); Volterra

 5 Semiconductor Corp. v. Primarion, Inc., No. 08-CV-5129, 2011 WL 4079223, at *7 (N.D. Cal. Sept. 12,

 6 2011) (admitting emails as business records). Thus, the mere fact that the business record is in the form

 7 of an email is no categorical bar to admissibility.

 8          Contrary to Defendant’s assertion in the five-page brief handed to the Court earlier today, the

 9 documents the government seeks to admit do not contain “[c]asual communication between employees”

10 of Theranos. Memo. at 2. Rather, these were emails generated pursuant to a company practice of

11 sharing relevant information of the inner workings of Theranos’s lab to ensure the systematic creation of

12 reliable records upon which the company’s executives—including Defendant—could act if necessary.

13 Indeed, Ms. Cheung testified that the “Normandy 911” email group was created by the company for the

14 purpose of “troubleshoot[ing] any problems that [ ] arose while we were working” and the exhibit

15 already admitted shows both Defendant and co-Defendant Balwani being looped into the issue for

16 potential solutions. 9/14 Tr. at 838:17–24, 845:23–850:10. Other examples include Exhibit 1227,

17 which consists of emails between Theranos employees regarding a pending demo test for a VIP. Emails

18 like that exhibit were the mechanism by which those employees coordinated and executed demos—a
19 regularly conducted activity at Theranos. Similarly, Exhibits like 1323, 1524, and 1528 all contain

20 contemporaneous reports from Theranos employees regarding issues they were directly observing in

21 Theranos’s clinical lab. Those employees were under a duty to report and memorialize those issues, and

22 the evidence shows that email was the medium through which that occurred in the usual course of

23 business. Similarly, Exhibit 1633 contains an email transmitting quality control data from the month of

24 March 2014 to Theranos’s lab director. Both the QC testing itself and the lab director’s review of that

25 data were essential components of the company’s operation, and the fact that these functions took place

26 over email does not prevent the resulting communications from qualifying as business records.

27          These examples demonstrate that the exhibits the government seeks to admit are not casual

28 communications among employees as Defendant asserts, but rather work-related emails about important

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 1 topics where the incentive for accuracy and completeness is essential so that senior management may

 2 rely upon the statements in making business decisions for Theranos. Thus, the government submits they

 3 are admissible under the business records hearsay exception under Rule 803(6).

 4          Second, to the extent the Court does not find the exhibits are wholly admissible under the

 5 business records exception to hearsay, there are also several non-hearsay purposes for multiple exhibits,

 6 including as opposing party statements under Rule 801(d)(2). The Court addressed and declined to

 7 adopt a categorical rule regarding attributing Theranos employee statements to Defendant during the

 8 motions in limine. See MIL Order 94–97; id. at 95 (citing Ninth Circuit case law that “support[s] the

 9 Government’s position” that Theranos employees’ statements may be attributable to Defendant but

10 declining to issue a categorical ruling). But the Court indicated it was likely to permit such statements

11 by Theranos employees as non-hearsay under Rule 801(d)(2)(D) where the scope of the relationship and

12 subject matter are sufficiently tied to Defendant Holmes. The government submits that the proposed

13 exhibits will easily meet the Court’s set standard.

14          A large portion of the proposed exhibits are exchanges with Dr. Adam Rosendorff, Theranos’s

15 then-Lab Director, who will testify that they regularly communicated with and provided information to

16 Defendant. Indeed, Dr. Rosendorff is expected to testify that he raised many of the issues reflected in

17 the proposed exhibits to both Balwani and Holmes directly. In addition, a couple of documents involve

18 Dr. Daniel Young, Theranos’s sole Vice President and third-in-charge at Theranos. Statements by
19 Balwani, Dr. Rosendorff, Dr. Young, or Daniel Edlin—all of whom directly reported to Defendant—are

20 admissible as statements of an agent, and Erika Cheung was frequently sending business information to

21 them, thereby supporting the inference that the information was also communicated to Defendant. The

22 mere fact that Defendant is not herself directly on an email from Ms. Cheung is an issue that goes to

23 weight, not admissibility.

24          Finally, certain of the exhibits the government will seek to admit included communications from

25 or to Defendant’s co-conspirator and romantic partner, Sunny Balwani. These emails certainly qualify

26 under Rule 801(d)(2)(D) and some may qualify as co-conspirator’s statements under Rule 801(d)(2)(E).

27 See, e.g., Exhibit 1589. Even under the Defendant’s view of the case, she asserts she relied on Balwani

28 when it came to the Normandy lab (9/8 Tr. at 599:2–600:17), but she never asserted that he misled her

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 1 as to how poorly it was performing. Rather, the evidence will show that Balwani and Holmes were in

 2 regular contact about lab operations and other issues at Theranos, with Balwani telling Holmes on at

 3 least one occasion that the “Normandy lab is a [ ] disaster zone.” Volkar Decl., Exh. 2.

 4          Ultimately, Defendant seeks to hide from the jury the fact that multiple scientists and every lab

 5 director with access to relevant data who worked at Theranos during the relevant time period had serious

 6 concerns with the accuracy and reliability of Theranos’s technology. Defendant’s claim that she was

 7 unaware of these issues in real-time, or overly relied on co-Defendant Balwani’s descriptions of the lab,

 8 is meritless. Indeed, the government intends to present evidence that the issues with the lab were

 9 repeatedly raised to Defendant and co-Defendant, but those employees’ concerns were dismissed or

10 contradicted without supporting evidence. These emails serve as circumstantial evidence that Defendant

11 Holmes knew of the issues in the lab given their pervasiveness along with the direct evidence of

12 statements made to her.

13          Third, some of the exhibits the government intends to admit during Ms. Cheung’s testimony

14 serve non-hearsay purposes such as showing the effect on Ms. Cheung that caused her to ultimately raise

15 concerns to upper management at Theranos and later blow the whistle to federal regulators. See Exhibit

16 1660 (showing Defendant’s direct knowledge of issues in the lab); Lischewski, --- F. App’x ---, 2021

17 WL 2826474, at *3 (finding emails admissible to show “state of mind of the persons on the email”).

18 Ms. Cheung’s realization that Holmes and Balwani were not responsive to reports of the issues with
19 Theranos’s blood testing device that could have an effect on people’s health is part of what compelled

20 her to report the issues to CMS rather than continuing to use channels within the company to voice her

21 concerns, and these documents are pertinent to the non-hearsay purpose of showing her state of mind

22 and explaining her subsequent steps. Some are also not hearsay because they involve commands and

23 direction about how to proceed.

24          In sum, the Court should reject Defendant’s hearsay challenges and admit the government’s

25 proposed exhibits. To the extent the documents are not explicitly mentioned in this short brief, the

26 government submits they fall along the same lines and that defense counsel has not presented a reason

27 why they cannot follow the typical trial process outlined by the Court and raise their objections in the

28 presence of the jury.

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 1 DATED: September 14, 2021                        Respectfully submitted,

 2                                                  STEPHANIE M. HINDS
                                                    Acting United States Attorney
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 4                                                  __/s/ Kelly I. Volkar___________________
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 5                                                  JOHN C. BOSTIC
                                                    ROBERT S. LEACH
 6                                                  KELLY I. VOLKAR
                                                    Assistant United States Attorneys
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